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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


 UNITED STATES OF AMERICA                                                         PLAINTIFF


 v.                                                    CRIMINAL ACTION NO. 3:06CR-50-S


 MARIO COMPEAN
 JOSE FELIX DELGADILLO                                                         DEFENDANTS


                           COURT’S INSTRUCTIONS TO THE JURY


 Members of the Jury:

        It is now my duty to instruct you on the rules of law that you must follow and apply in

 deciding this case.    When I have finished you will go to the jury room and begin your

 deliberations.

        It will be your duty to decide whether the United States has proved beyond a reasonable

 doubt the specific facts necessary to find the defendants guilty of the crimes charged in the

 superseding indictment.
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 You must make your decision only on the basis of the testimony and other evidence

 presented here during the trial; and you must not be influenced in any way by either sympathy or

 prejudice for or against the defendants or the United States.

           You must also follow the law as I explain it to you whether you agree with that law or not;

 and you must follow all of my instructions as a whole. You may not single out, or disregard, any

 of the court's instructions on the law.

           The superseding indictment or formal charges against the defendants is not evidence of guilt.

 The defendants are presumed by the law to be innocent. The law does not require a defendant to

 prove innocence or produce any evidence at all. The United States has the burden of proving a

 defendant guilty beyond a reasonable doubt, and if it fails to do so you must find the defendant not

 guilty.




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 While the United States' burden of proof is a strict or heavy burden, it is not necessary that

 a defendant's guilt be proved beyond all possible doubt. It is only required that the United States'

 proof exclude any "reasonable doubt" concerning a defendant's guilt.

        A "reasonable doubt" is a doubt based upon reason and common sense after careful and

 impartial consideration of all the evidence in the case.

        Proof beyond a reasonable doubt, therefore, is proof of such a convincing character that you

 would be willing to rely and act upon it without hesitation in the most important of your own affairs.




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 You must consider only the evidence that I have admitted in the case. The term "evidence"

 includes the testimony of the witnesses and the exhibits admitted in the record. Remember that

 anything the lawyers say is not evidence in the case. It is your own recollection and interpretation

 of the evidence that controls. What the lawyers say is not binding upon you.

        In considering the evidence you may make deductions and reach conclusions which reason

 and common sense lead you to make. You need not be concerned about whether the evidence is

 direct or circumstantial. "Direct evidence" is the testimony of one who asserts actual knowledge of

 a fact, such as an eye witness. "Circumstantial evidence" is proof of a chain of facts and

 circumstances indicating that a defendant is either guilty or not guilty. The law makes no distinction

 between the weight you may give to either direct or circumstantial evidence.




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 Now, in saying that you must consider the evidence, I do not mean that you must accept all

 of the evidence as true or accurate. You should decide whether you believe what each witness had

 to say, and how important that testimony was. In making that decision you may believe or

 disbelieve any witness, in whole or in part. Also, the number of witnesses testifying concerning any

 particular dispute is not controlling.

        In deciding how much of a witness' testimony to believe, I suggest that you ask yourself a

 few questions: Did the witness impress you as one who was telling the truth? Did the witness have

 any particular reason not to tell the truth or a personal interest in the outcome of the case? Did the

 witness have a good memory? Did the witness have the opportunity and ability to observe

 accurately the things he or she testified about?




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 You should also ask yourself whether there was evidence tending to prove that the witness

 testified falsely concerning some important fact; or, whether there was evidence that at some other

 time the witness said or did something, or failed to say or do something, which was different from

 the testimony given before you during the trial.

        The fact that a witness has been convicted of a felony offense is another factor you may

 consider in deciding whether you believe the testimony of that witness.

        However, a simple mistake by a witness does not necessarily mean that the witness was not

 telling the truth as he or she remembers it, because people naturally tend to forget some things or

 remember other things inaccurately. So, if a witness has made a misstatement, you need to consider

 whether that was simply an innocent lapse of memory or an intentional falsehood.

        As stated before, a defendant has a right not to testify. If a defendant does testify, however,

 you should decide in the same way as that of any other witness whether you believe his testimony.




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 The testimony of some witnesses must be considered with more caution than the testimony

 of other witnesses.

        In this case the United States called as witnesses persons with whom the United States has

 entered into plea agreements. Such plea bargaining, as it's called, has been approved as lawful and

 proper, and is expressly provided for in the rules of this court. However, a witness who hopes to

 gain more favorable treatment in his or her own case may have a reason to make a false statement

 because he wants to strike a good bargain with the United States. So, while a witness of that kind

 may be entirely truthful when testifying, you should consider his testimony with more caution than

 the testimony of other witnesses.

        And, of course, the fact that a witness has pled guilty to a crime charged in the superseding

 indictment is not evidence, in and of itself, of the guilt of any other person.




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 When knowledge of a specialized subject matter may be helpful to the jury, a person having

 training or experience in the field—one who is called an expert witness—is permitted to state an

 opinion.

         Merely because an expert witness has expressed an opinion, however, does not mean that

 you must accept that opinion. The same as with any other witness, it is up to you to decide whether

 to rely upon it.




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                                             COUNT 1

        Count 1 of the superseding indictment charges the defendants with the crime of conspiracy.

 A conspiracy is an agreement or a kind of partnership in criminal purposes in which each member

 becomes the agent or partner of every other member. Title 21, United States Code, Section 846

 makes it a separate crime to conspire to do something which, if actually carried out, would amount

 to another federal crime. In this case, the defendants are charged in Count 1 with conspiring to

 knowingly and intentionally possess with intent to distribute or to distribute a quantity of cocaine.

        Each defendant can be found guilty of conspiracy only if all of the following facts are proved

 beyond a reasonable doubt as to that defendant:

        First:    That two or more persons came to a mutual understanding to try to
                  accomplish a common and unlawful plan, that is, to knowingly and
                  intentionally possess with intent to distribute a mixture or substance
                  containing a detectable amount of cocaine; and

        Second: That the defendant knowingly became a member of such conspiracy.

        The essence of a conspiracy is the making of the scheme itself. It is not necessary for the

 United States to prove that the conspirators actually succeeded in accomplishing the unlawful plan.

        A person may become a member of a conspiracy without full knowledge of all of the details

 of the unlawful scheme or the names and identities of all of the other alleged conspirators. So, if a

 defendant has an understanding of the unlawful nature of a plan and knowingly joins in that plan on

 one occasion, that is sufficient to convict him for conspiracy even though he had not participated

 before and even though he played only a minor part. It is not necessary for the United States to

 prove that all of the people in the superseding indictment were members of the scheme, or that those

 who were members had entered into any formal type of agreement.




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         Of course, mere presence at the scene of a transaction or event, or the mere fact that certain

  persons may have associated with each other, and may have assembled together and discussed

  common aims and interests, does not necessarily establish proof of a conspiracy. Also, a person who

  has no knowledge of a conspiracy, but who happens to act in a way which advances some purpose

  of one, does not thereby become a conspirator.




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                                               COUNT 2

         Title 21, United States Code, Section 841(a)(1), makes it a federal crime for anyone to

  possess a "controlled substance" with intent to distribute it.

         Cocaine is a "controlled substance" within the meaning of the law.

         A defendant can be found guilty of that crime only if all of the following facts are proved

  beyond a reasonable doubt as to that defendant:

         First:    That the defendant knowingly and intentionally possessed a mixture or
                   substance containing a detectable amount of cocaine as charged; and

         Second: That he possessed the substance with the intent to distribute it.


         To "possess with intent to distribute" simply means to possess with intent to deliver or

  transfer possession of a controlled substance to another person, with or without any financial interest

  in the transaction.

  The law recognizes several kinds of possession. A person may have actual possession or

  constructive possession. A person may also have sole possession or joint possession.

         A person who has direct physical control of something on or around his person is then in

  actual possession of it.

         A person who is not in actual possession, but who knowingly has both the power and the

  intention at a given time to exercise dominion and control over something, either alone or together

  with someone else, is in constructive possession of it.

         If one person alone has possession of something, possession is sole. If two or more persons

  share possession, possession is joint.




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          Whenever the word "possession" is used in these instructions, it includes actual and

  constructive possession, and also sole and joint possession.

  The guilt of a defendant in a criminal case may be proved without evidence that he

  personally did every act involved in the commission of the crime charged. The law recognizes that,

  ordinarily, anything a person can do for himself may also be accomplished through direction of

  another person as an agent, or by acting together with, or under the direction of, another person or

  persons in a joint effort.

          So, if the acts or conduct of an agent or associate of a defendant are intentionally directed

  or authorized by that defendant, or if a defendant aids and abets another person by intentionally

  joining together with that person in the commission of a crime, then the law holds that defendant

  responsible for the conduct of that other person just as though the defendant had engaged in such

  conduct himself.

          Notice, however, that before any defendant can be held criminally responsible for the

  conduct of others it is necessary that the defendant associate himself in some way with the crime,

  and intentionally participate in it. Mere presence at the scene of a crime and even knowledge that

  a crime is being committed are not sufficient to establish that a defendant either directed or aided

  and abetted the crime. You must find beyond a reasonable doubt that a defendant was a participant

  and not merely a knowing spectator.




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                                             QUANTITY

         If you find a defendant guilty as to Count 1, you must also decide beyond a reasonable doubt

  what quantity of the mixture or substance containing a detectable amount of cocaine that defendant

  conspired to possess with intent to distribute on or about the dates set forth in the superseding

  indictment. If you find a defendant guilty as to Count 1, you will complete the verdict form asking

  you to answer this question.

         If you find a defendant guilty as to Count 2, you must also decide beyond a reasonable doubt

  what quantity of the mixture or substance containing a detectable amount of cocaine that defendant

  possessed with intent to distribute on or about the dates set forth in the superseding indictment. If

  you find a defendant guilty as to Count 2, you will complete the verdict form asking you to answer

  this question.




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  You will note that the superseding indictment charges that the offenses were committed "on

  or about" certain dates or a range of dates. The United States does not have to prove with

  certainty the exact date of the alleged offense. It is sufficient if the United States proves beyond

  a reasonable doubt that an offense was committed on a date reasonably near the date or range of

  dates alleged.

         The word "knowingly," as that term has been used in these instructions, means that the act

  was done voluntarily and intentionally and not because of mistake or accident.




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  A separate crime or offense is charged against the defendants in each count of the

  superseding indictment. Each offense, and the evidence pertaining to it, should be considered

  separately. Also, the case of each defendant should be considered separately and individually. The

  fact that you may find one or more of the defendants guilty or not guilty of any of the offenses

  charged should not affect your verdict as to any other offense or any other defendant.

         The defendants are on trial only for the specific offenses alleged in the superseding

  indictment. Also, the question of punishment should never be considered by the jury in any way in

  deciding the case. If either defendant is convicted the matter of punishment is for the judge to

  determine.




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  Any verdict you reach in the jury room, whether guilty or not guilty, must be unanimous.

  In other words, to return a verdict you must all agree. Your deliberations will be secret; you will

  not have to explain your verdict to anyone.

         It is your duty as jurors to discuss the case with one another in an effort to reach agreement

  if you can do so. Each of you must decide the case for yourself, but only after full consideration of

  the evidence with the other members of the jury. While you are discussing the case do not hesitate

  to re-examine your own opinion and change your mind if you become convinced that you were

  wrong. But do not give up your honest beliefs solely because the others think differently or merely

  to get the case over with.




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  When you go to the jury room you should first select one of your members to act as your

  foreperson. The foreperson will preside over your deliberations and will speak for you here in court.

         Form of verdict have been prepared for your convenience.

         You will take the verdict forms to the jury room and when you have reached unanimous

  agreement you will have your foreperson fill in the verdict forms, date and sign them, and then

  return to the courtroom.




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